Exhibit I


                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION.
                                      Consolidated Civil Action



        RALEIGH WAKE CITIZENS             )
        ASSOCIATION, et al.,              )
                                          )
                              Plaintiffs, )
                                          )
                   v.                     )                          No. 5:15-CV-156-D
                                          )
        WAKE COUNTY BOARD OF ELECTIONS, )
                                          )
                              Defendant.  )


        CALLA WRIGHT, et al.,                            )
                                                         )
                                         Plaintiffs,     )
                                                         )
                                                         )           No. 5:13-CV-607-D
                                                        )
        STATE OF NORTH CAROLINA,                        )
                                                        )
                                         Defendant.     )


                                                       ORDER

               On August 2, 2016, the court held a status conference in anticipation of the mandate. At the

        status conference, the court discussed with the parties, the North Carolina State Board ofElections,

        and the legislative leaders of the North Carolina General Assembly the remedial proceedings,

        including the nature and scope of injunctive relief, necessary to implement the mandate and to have

        orderly elections in Wake County in November 2016 for the Wake County School Board and the

        Wake County Board of Commissioners. The court also discussed the information that it received




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on July 18, 2016, and August 2, 2016. See [D.E. 81, 82, 83, 84, 87V Additionally, the court

received information from the North Carolina State Board of Elections about its remedial authority

under N.C. Gen. Stat. § 163-22.2.

       On August 3, 2016, the mandate ofthe United States Court ofAppeals for the Fourth Circuit

issued in this case [D.E. 89], and this court obtained jurisdiction. In accordance with the mandate,

the court declares that the population deviations in the redistricting plans in Session Law 2013-110

for the Wake County School Board and Session Law 2015-4 for the Wake County Board of

Commissioners violate the equal protection clauses of the Fourteenth Amendment to the United

States Constitution and Article I, § 19 of the North Carolina Constitution.

       Any further information on the remedy (including the nature and scope of injunctive relief)

from the parties, the North Carolina State Board ofElections, or the legislative leaders ofthe General

Assembly is due no later than Friday, August 5, 2016. Any responses are due no later than Saturday,

August 6, 2016.

       Beginning August 10, 2016, countless sequential deadlines must be met in order to have

orderly elections in Wake County. See [D.E. 83, 83-1, 83-2]. The court promptly will review the

record and the submissions, determine the appropriate remedy, and issue injunctive relief in

accordance with the mandate and governing law.

       SOORDERED. This 4-- dayofAugust2016.


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           This order references docket entries as they appear in Civil Action No. 5:15-CV-156-D.

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